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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 FRED L. NANCE, Jr.,                            )
                                                )
                               Plaintiff,       )
                                                )    No. 22 C 3861
                        v.                      )
                                                )    Judge Alonso
 UNITED STATES, et al.,                         )
                                                )
                               Defendants.      )


                        DEFENDANT’S MOTION TO DISMISS
                   OR ALTERNATIVELY FOR SUMMARY JUDGMENT

       Defendants, United States and U.S. Department of Justice, by their attorney, John R.

Lausch, Jr., United States Attorney for the Northern District of Illinois, hereby move to dismiss

the complaint pursuant to Fed. R. Civ. P. 12(b)(1) and (6), or alternatively under Rule 56 for

summary judgment in favor of the defendants because there are no genuine issues of material fact,

and because defendants are entitled to judgment as a matter of law. In support, defendants submit

a memorandum of law, defendants’ Local Rule 56.1 Statement of Material Facts, and a notice to

pro se litigants, herewith.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

                                             By: s/ Kurt N. Lindland
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